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 6   Attorney for Plaintiffs,
 7   ALLEN D. MOYER and ADMI INCORPORATED

 8
                         UNITED STATES DISTRICT COURT
 9
                      NORTHERN DISTRICT OF CALIFORNIA
10
                                   SAN JOSE DIVISION
11
     ALLEN MOYER; and ADMI                        Case No. 23-cv-03004-SVK
12   INCORPORATED;
13                                               PLAINTIFFS’ STATUS
                              Plaintiffs,        REPORT
14
                                                 [No Hearing Set]
15               v.
16
     JOSEPH CELLURA; ADMI INC.; and
17   TARSIN MOBILE INC.
18
                              Defendants.
19
20         Counsel for the Parties intended to meet-and-confer today. However,
21   Defense Counsel is ill and was unable to participate.
22         Since the Court granted the Motion to Stay in this matter, nothing of
23   significance has occurred in the New York case. In New York, no Proof of Service
24   of the First Amended Complaint has been filed. The Court in New York has not
25   decided the Motion to Dismiss made by Mr. Moyer and his company on the
26   grounds that the Court in New York lacks personal jurisdiction.
27   ///
28   ///
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                               PLAINTIFFS’ STATUS REPORT
      Case 5:23-cv-03004-SVK Document 31 Filed 12/18/23 Page 2 of 2



 1         Plaintiffs here request that the stay in this case be lifted. On the contrary, the
 2   Defense here contends that the stay should remain in effect.
 3   Dated: December 18, 2023         Respectfully submitted,
 4                                    KHOURI LAW FIRM, APC

 5
 6                             By:    /s/ Michael J. Khouri
                                      Michael J. Khouri
 7                                    Attorney for Plaintiffs,
 8                                    ALLEN D. MOYER; and
                                      ADMI INCORPORATED
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                               PLAINTIFFS’ STATUS REPORT
